 2:14-bk-15687 Doc#: 794 Filed: 06/08/18 Entered: 06/08/18 16:28:37 Page 1 of 2



                       IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   HELENA DIVISION


Re:    Turner Grain Merchandising, Inc., Debtor                           Case No. 2:14-bk-15687J
                                                                                         Chapter 7
                                                                         Converted from Chapter 11


             ORDER APPROVING FOURTH APPLICATION FOR FEES AND
            REIMBURSEMENT OF EXPENSES FOR KEECH LAW FIRM, P. A.

       On consideration of the Fourth Interim Application for Fees and Reimbursement of Expenses

and Notice of Opportunity to Object filed by Keech Law Firm, P.A. ("KLF") on May 17, 2018

[Docket No. 772] (the "Application"), the Court finds and orders as follows:

       1.      The fees and expenses requested by KLF are reasonable, necessary, and related to

services rendered to the Debtor's estate.

       2.      The Court hereby approves the Fourth Interim Fee Application for Fees and

Reimbursement of Expenses for KLF.

       3.      KLF is hereby awarded fees in the aggregate amount of $33,202.80 and expenses in

the amount of $2,670.84 for a total of $35,873.64, however payment of said fees and expenses shall

be deferred until such time as the Trustee can ascertain whether fees will be paid in full or until he

can determine the exact pro rata amount that each administrative claimant is entitled.

       4.      Notice of the Application filed by KLF was adequate and no objection has been filed

thereto. The United States Trustee has filed comments stating that it has no objection to the

application.

       IT IS THEREFORE ORDERED that the Amended Fourth Application for Allowance of

Compensation and Reimbursement of Expenses filed on behalf of KLF on May 17, 2018, shall be

and hereby is granted. IT IS FURTHER ORDERED that KLF shall be entitled to additional fees




                 EOD: June 8, 2018
 2:14-bk-15687 Doc#: 794 Filed: 06/08/18 Entered: 06/08/18 16:28:37 Page 2 of 2



in the amount $33,202.80 and expenses in the amount of$2,670.84, based upon services rendered

and expenses incurred on behalf of the estate. IT IS FURTHER ORDERED that payment of said

fees and expenses shall be deferred until such time as the Trustee can ascertain whether fees will be

paid in full or until he can determine the exact pro rata amount that each administrative claimant is

entitled to receive. This Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.


           IT IS SO ORDERED.                    UNITED STATES BANKRUPTCY JUDGE
                                               Phyllis M. Jones
                                               United States Bankruptcy Judge
                                               Dated: 06/08/2018



                                                                                DATE


Approved By:
 /s/ Kevin P. Keech
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Little Rock, AR 72206

/s/ M. Randy Rice, Trustee
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